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1                              UNITED STATES DISTRICT COURT
2                                     DISTRICT OF NEVADA
3     MARK STRADLEY,                                     Case No. 2:19-cv-01748-MMD-CLB
4                                           Plaintiff                   ORDER
5             v.
6     J. DZURENDA et al.,
7                                       Defendants
8
9    I.       DISCUSSION

10            According to the Nevada Department of Corrections (“NDOC”) inmate database,

11   Plaintiff is no longer incarcerated. However, Plaintiff has not filed an updated address

12   with this Court. The Court notes that pursuant to Nevada Local Rule of Practice IA 3-1,

13   a “pro se party must immediately file with the court written notification of any change of

14   mailing address, email address, telephone number, or facsimile number. The notification

15   must include proof of service on each opposing party or the party’s attorney. Failure to

16   comply with this rule may result in the dismissal of the action, entry of default judgment,

17   or other sanctions as deemed appropriate by the court.” Nev. Loc. R. IA 3-1. This Court

18   grants Plaintiff until Monday, November 2, 2020, to file his updated address with this

19   Court.    If Plaintiff does not update the Court with his current address by Monday,

20   November 2, 2020, the Court will dismiss this action without prejudice.

21            Additionally, the Court denies the application to proceed in forma pauperis for

22   prisoners (ECF No. 8) as moot because Plaintiff is no longer incarcerated. The Court

23   now directs Plaintiff to file an application to proceed in forma pauperis by a non-prisoner

24   by Monday, November 2, 2020, or pay the full filing fee of $400.

25   II.      CONCLUSION

26            For the foregoing reasons, IT IS ORDERED that Plaintiff will file his updated

27   address with the Court by Monday, November 2, 2020.

28            IT IS FURTHER ORDERED that Plaintiff’s application to proceed in forma pauperis
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1    for prisoners (ECF No. 8) is DENIED as moot.
2           IT IS FURTHER ORDERED that the Clerk of the Court WILL SEND Plaintiff the
3    approved form application to proceed in forma pauperis by a non-prisoner, as well as the
4    document entitled information and instructions for filing an in forma pauperis application.
5           IT IS FURTHER ORDERED that by Monday, November 2, 2020, Plaintiff will
6    either: (1) file a fully complete application to proceed in forma pauperis for non-prisoners;
7    or (2) pay the full filing fee of $400.
8           IT IS FURTHER ORDERED that, if Plaintiff fails to timely comply with this order,
9    the Court will dismiss this case without prejudice.
10                     16thday of October 2020.
            DATED THIS ___
11
12                                             UNITED STATES MAGISTRATE JUDGE
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